Case 2:21-cv-01889-MCS-PD Document 102 Filed 08/12/22 Page 1 of 2 Page ID #:988



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 8                       UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10   V.V., a minor, by and through guardian Case No. 2:21-cv-01889-MCS-PD
11   ad litem Rosalina Adan, individually
     and as successor in interest to Victor AMENDED JUDGMENT
12   Valencia, deceased, VICTOR R.
13   VALENCIA, and CLARA QUESADA,
14
                      Plaintiff,
15
                 v.
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17   CITY OF LOS ANGELES; COLIN
     LANGSDALE, and DOES 1–10,
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     inclusive,
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                      Defendant.
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 1         Pursuant to the jury’s verdict and the Court’s orders,
 2         IT IS ADJUDGED that judgment is entered in favor of Plaintiff V.V. and against
 3   Defendants City of Los Angeles and Colin Langsdale on V.V.’s federal excessive force
 4   claim and V.V.’s state law wrongful death claims. Plaintiff V.V. shall take $145,000 on
 5   the excessive force claim and $2,020,000 on the state law wrongful death claims.
 6   Plaintiff V.V. shall take nothing on his other claims. Plaintiffs Victor Valencia and
 7   Clara Quesada shall take nothing on their claims. Plaintiff V.V. is entitled to his costs
 8   of suit and prejudgment interest as governed by 28 U.S.C. § 1961. The Court reserves
 9   decision on any award of attorney’s fees until after Plaintiff V.V. files a motion under
10   Federal Rule of Civil Procedure 54(d)(2).
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12   IT IS SO ORDERED.
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14   Dated: August 12, 2022
15                                                   MARK C. SCARSI
                                                     UNITED STATES DISTRICT JUDGE
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